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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DECKERS OUTDOOR CORPORATION,
                                                     Case No. 18-cv-07675
                        Plaintiff,
                                                     Judge Edmond E. Chang
       v.
                                                     Magistrate Judge Young B. Kim
XIE JI PING, et al.,

                        Defendants.


                       NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Deckers

Outdoor Corporation (“Deckers”) hereby dismisses this action, with leave to reinstate within one

hundred and eighty (180) days, as to the following Defendants:

                  Defendant Name                                      Line No.
             TIMETANG Footwear Store                                     681
                  Old friend Store                                       683
                  AIWEISHI Store                                         687
                  aygxyyouth0104                                         692
                  aygxyyouth0106                                         693
                BABY E-commerce                                          694
                   baobeijihua123                                        696
                      beyoucat1                                          698
                  Bigger Fun Box                                         699
                 BSDGDFSGVCG                                             701
                      calasaiyo                                          702
                      carryleen                                          704
                 castle E-commerce                                       705
                    Casual shop 2                                        706
       Changshan Xin Xing Technology Co., Ltd.                           710
                    chenbinstore                                         712
                   chunhongstore                                         714
                    czyouth0213                                          719
                    czyouth0221                                          720
                    czyouth0234                                          721
                Darling E-commerce                                       723
                        DDan                                             724
                   dhyyouth0125                                          725
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                   didocobao                                726
              ehappy company                                731
             Fastest service shop                           737
            Fastest Service shops                           738
                feihuhehuoren                               740
                   Finenglilys                              742
               Fouruncles trade                             746
                 funnycushion                               748
              gangshangkaihua                               750
                    gooshelly                               754
             Greatest E-business                            755
                       GSLS                                 756
              heniuniuliuyuxin                              766
            international trade 66                          771
                    JakWang                                 772
                jiwenling2351                               779
              juahuangyiuduon                               780
                     just liger                             781
                   kim wood                                 782
                   Lancy cui                                787
           Lenny Ecommerce Ltd                              791
                  leopard 666                               792
      LiangCCCCCCCChaoooOOooWei                             794
                liangdongshoe                               795
                    linhanhan                               798
                 Little money                               799
                 Love life 520                              806
          LT E-Commerce Co., Ltd                            807
               luoluokaisenmei                              808
                   mayhappy                                 812
              Maysun company                                813
                  OhmyGod 1                                 821
           One thousand years later                         823
                  panmeifeng                                826
                 Plus Size Girl                             829
                Pretty company                              830
                  Purple Tree                               832
                 qintiansedgf3                              835
                     sdhudhd                                842
                    shaoyong                                843
            SIDONGLOGISTIC                                  849
                   SSSIMON                                  855
                  treasure657                               870
                  trend online                              871
              USA3DaysArrival                               874
                    wangxibl                                878
               weiqianqian123                               881
                  Wudishiwo                                 883
                 WULIAFSD                                   884

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                    xiaoehuanxi                                        886
                   xiaoxiaoaixiao                                      888
                      xzx4947                                          896
                      ycl0228                                          898
                       yes222                                          899
                       yibaiyi                                         900
                    Yifengyiren                                        901
                      yiqianyi                                         903
                      yiqingad                                         905
                        YJL                                            906
                 YOHO E-commerce                                       908
                   zfyyouth0104                                        915
                     zww_2526                                          923
                     zwyouth41                                         924

With this dismissal, the above-captioned case can be terminated.

Dated this 20th day of March 2019.          Respectfully submitted,

                                            /s/ Justin R. Gaudio
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                                            Justin R. Gaudio
                                            RiKaleigh C. Johnson
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